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RYAN G. WELDON                                                   FILED
Assistant U.S. Attorney                                            MAR 1 I 2019
U.S. Attorney's Office
                                                                Clerk, U,S District Court
P.O. Box 3447                                                     Distnct Of Montana
Great Falls, MT 59403                                                 Great Falls

119 First Ave. North, Suite 300
Great Falls, MT 59403
Phone: (406) 761-7715
FAX: (406) 453-9973
E-mail:    Ryan.Weldon@usdoj.gov

ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                           BUTTE DIVISION

 UNITED STATES OF AMERICA,              CR 19-07 -BU- DLC

               Plaintiff,               INFORMATION

         vs.                            WIRE FRAUD
                                        (Count I)
                                        Title 18 U.S.C. § 1343
 ELLEN LORRAINE VAN AUSDOL,
                                        (Penalty: 20 years imprisonment,
                                        $250,000 fine, and three years supervised
               Defendant.               release)

                                        MAKING AND SUBSCRIBING TO A
                                        FALSE INCOME TAX RETURN
                                        (Count II)
                                        Title 26 U.S.C. § 7206(1)
                                        (Penalty: Three years imprisonment,
                                        $100,000 fine, costs of prosecution, and
                                        one ear of su ervised release



THE UNITED STATES ATTORNEY CHARGES:



                                    I
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                                  fNTRODUCTION

       At all times relevant to this information:

       1.     The defendant, ELLEN LORRAINE VAN AUSDOL, operates a

fiduciary business, which is called Fiduciary Consulting and Management, Inc., in

Bozeman, Montana.       The purpose of Fiduciary Consulting and Management, Inc.,

is to offer money management services for court-appointed clients.     Many of the

court-appointed clients have mental deficiencies and lack the ability to manage

their own money.

      2.      All total, the investigation determined that the defendant, ELLEN

LORRAINE VAN AUSDOL, embezzled approximately $444,000.00 from her

clients. Such embezzlement resulted in the defendant, ELLEN LORRAINE VAN

AUSDOL, also owing additional taxes to the IRS in an amount of$52,894.00.

                                      COUNTI

      Beginning in or about January of 2010, and continuing thereafter until in or

about April of 2016, at Bozeman and in Gallatin County, in the State and District

of Montana, and other places, the defendant, ELLEN LORRAINE VAN

AUSDOL, having devised and intending to devise a material scheme and artifice to

defraud the clients of Fiduciary Consulting and Management, Inc., for the purpose

of executing such scheme and artifice, and attempting to do so, did knowingly

transmit and cause to be transmitted by means of wire communication in interstate



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and foreign commerce, writings, signs, signals, pictures, and sounds for the

purpose of executing such scheme and artifice.

                          THE SCHEME TO EMBEZZLE

       During the period of the information, it was part of the scheme and artifice

to defraud clients of Fiduciary Consulting and Management, Inc. that the

defendant, ELLEN LORRAINE VAN AUSDOL, embezzled and fraudulently

withdrew unauthorized payments to herself from her clients' funds, which were

located in a bank account in Bozeman.

                THE INTERSTATE WIRE COMMUNICATIONS

      During the period of the information, the defendant, ELLEN LORRAINE

VAN AUSDOL, having devised and intending to devise a material scheme and

artifice to defraud, as described herein, for the purpose of executing the scheme to

defraud, used bank accounts, thereby transmitting and causing to be transmitted by

means of wire communication affecting interstate commerce, writings, signs,

signals, pictures, and sounds for the purpose of executing such scheme and artifice,

from the State of Montana, through the Federal Reserve in Minneapolis,

Minnesota, and back to Montana, in violation of 18 U.S.C. § 1343.

                                    COUNT II

      On or about September 4, 2014, at Bozeman and in Gallatin County, in the

State and District of Montana, and other places, the defendant, ELLEN



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    LORRAINE VAN AUSDOL, willfully made and subscribed to an income tax

    return, which was verified by a written declaration that it was made under the

    penalties of perjury, and which the defendant, ELLEN LORRAINE VAN

    AUSDOL, did not believe to be true and correct as to every material matter

    because it omitted the total amount of income from embezzled funds, which was

    additional income in the amount of$47,000 that the defendant, ELLEN

    LORRAINE VAN AUSDOL, knew needed to be reported, and resulted in an

    additional tax due and owing in the amount of $13,111, all in violation of 26

    U.S.C. 7206(1).

          DATED this   it=   day of March, 2019.



                                          KURTG.ALME
                                          United States Attorney




                                          Assistant U.S. Attorney




{ r'M,) JO~HAGGA~
   Criminal Chief Assistant U.S. Attorney



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